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6                 IN THE UNITED STATES DISTRICT COURT FOR THE

7                        EASTERN DISTRICT OF CALIFORNIA

8

9    MIGUEL PULIDO ROMERO,             )       No. CV-F-05-1016 REC
                                       )       (No. CR-F-03-5373 OWW)
10                                     )
                                       )       ORDER DIRECTING PETITIONER
11                     Petitioner,     )       TO NOTIFY COURT THAT MOTION
                                       )       BE RECHARACTERIZED AS MOTION
12               vs.                   )       PURSUANT TO 28 U.S.C. § 2255
                                       )       OR TO WITHDRAW MOTION
13                                     )
     UNITED STATES OF AMERICA,         )
14                                     )
                                       )
15                     Respondent.     )
                                       )
16                                     )

17        On August 5, 2005, petitioner Miguel Pulido Romero,

18   proceeding in pro per, filed a "Motion to Dismiss or Review to

19   Adjust Sentence, For Lack of Territorial Jurisdiction."

20        Petitioner was charged in Count One with conspiracy to

21   distribute and possess with intent to distribute methamphetamine

22   and aiding and abetting, and in Count Two with possession of

23   methamphetamine with intent to distribute and aiding and

24   abetting.   Petitioner pleaded guilty to Count One pursuant to a

25   written plea agreement.     The plea agreement provided in pertinent

26   part:

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1          2.    Agreements by the Defendant.

2          ...

3               (d) The defendant is aware that
           Title 18, United States Code, Section 3742
4          affords a defendant the right to appeal the
           sentence imposed. Acknowledging this, the
5          defendant knowingly waives the right to
           appeal his conviction or any sentence which
6          is in accordance with the maximum provided in
           the statute(s) of conviction (or the manner
7          in which that sentence was determined) on the
           grounds set forth in Title 18, United States
8          Code, Section 3742 or on any other ground
           whatever, in exchange for the concessions
9          made by the United States in this plea
           agreement. The defendant also waives his
10         right to challenge his conviction, sentence
           or the manner in which it was determined in
11         any post-conviction attack, including but not
           limited to a motion brought under Title 28,
12         United States Code, Sections 2241 or 2255.

13         ...

14         5.    Factual Basis.

15         The defendant will plead guilty because he is
           in fact guilty of the crime set forth in the
16         Superseding Information, Cr.F.No. 03-5373
           REC. The defendant also agrees that his
17         guilty plea will be based upon the following
           facts, although he acknowledges that, as to
18         other facts, the parties may disagree:

19              Beginning at a time unknown, but no
           later than on or about September 21, 2003,
20         and continuing to on or about September 22,
           2003, within the State and Eastern District
21         of California, and elsewhere, defendant
           Miguel Pulido Romero did knowingly and
22         intentionally agree and conspire with Sergio
           Martinez Galindo, Arturo Reyes Gutierrez and
23         others to possess and distribute over 500
           grams or more or a mixture or substance
24         containing a detectable amount of
           methamphetamine, a Schedule II controlled
25         substance. Specifically, on September 22,
           2003, a DEA Confidential Source and DEA
26         Special Agent Eduardo Chavez, acting in an

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1              undercover capacity, met with Galindo,
               Gutierrez, and defendant Pulido Romero at a
2              Denny’s Restaurant parking lot in
               Bakersfield, California, for the purpose of
3              consummating a narcotics transaction. Prior
               to this meeting, an informant had negotiated
4              with Galindo for the purchase of six (6)
               pounds of crystal methamphetamine for
5              $24,000. Galindo had told informant that he
               was traveling with an individual named
6              ‘Ricardo’ (identified as Gutierrez) and
               another individual nicknamed ‘Guero’ (later
7              identified as the defendant, Pulido Romero).

8                   That afternoon, co-defendants
               Galindo and Gutierrez arrived at the Denny’s
9              parking lot in a blue station wagon. The
               informant and agent Chavez met with them.
10             Defendant Pulido Romero walked over to meet
               the group. When the informant asked to see
11             the merchandise, Galindo directed Gutierrez
               to bring the blue station wagon and park it
12             near defendant Pulido Romero’s green
               Thunderbird. Agent Chavez observed Pulido
13             Romero reach into the driver’s window, stop
               the engine, and open the trunk and hood of
14             the Thunderbird. Gutierrez parked the
               station wagon near the Thunderbird while
15             Galindo opened the hoods of both vehicles as
               if to give the impression that they were
16             attempting to jump start the car.

17                  Agent Chavez walked to the trunk of
               the car and asked Pulido Romero if the
18             ‘stuff’ was in the trunk. He said no and
               pointed towards the hood of the vehicle.
19             Agent Chavez walked to the front of the Ford
               Thunderbird and observed Galindo opening the
20             air filter portion of the engine. The agent
               then saw six off-white oval size objects
21             wrapped in saran wrap, which chemical
               analysis showed contained approximately 2,420
22             grams of methamphetamine.

23                  Pulido Romero gave a false name
               when he was arrested. A fingerprint check
24             revealed his true identity. At the time,
               defendant Pulido Romero knew that
25             methamphetamine was a controlled substance.

26   Petitioner was sentenced by Judge Robert Coyle on May 17, 2004 to

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1    120 months imprisonment, the mandatory minimum for the crime to

2    which petitioner pleaded guilty.1       No appeal was filed.

3         In the instant motion, petitioner “demands of this

4    legislative tribunal assembly the dismissal of this cause because

5    of the lack of exclusive jurisdictional authority over the exact

6    geographical location where the alleged criminal activity

7    mentioned in the indictment took place” and further demanding

8              of this court to establish the required
               exclusive Federal Jurisdiction that have been
9              merely assumed in this matter, consisting of:

10             1. Documentation showing ownership of each
               and every geographical location mentioned in
11             the instant indictment wherein the alleged
               criminal activity took place.
12
               2. Documentation for legislature of the
13             State of CALIFORNIA, surrendering
               jurisdiction to the Federal government over
14             the same geographical location as in ‘1.
               [sic]
15
               3. Documentation pursuant to Title 40 U.S.C.
16             § 255, wherein the United States accepted
               jurisdiction to the same geographical
17             location as specified in #1, or documentation
               showing concurrent jurisdiction with the
18             states over the geographical location in #1
               ....
19
     Alternatively, the motion requests the court to reconsider the
20
     sentence imposed on him, contending that he is a young man, who
21
     has tried his best in prison, that this is his only crime, that
22
     he has a family to support which caused him to come to the United
23
     States for work, and that the court “now [has] the ability to
24

25        1
           Further proceedings in the underlying criminal action were
     transferred to the docket of Judge Oliver Wanger by order filed on
26   May 31, 2005.

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1    have the ‘sentence be given to fit the crime,’ because of the new

2    Supreme Court Rulings, in BOOKER and BLAKELY.”

3         As a general rule, challenges to the legality of a federal

4    conviction and sentence must be brought pursuant to 28 U.S.C. §

5    2255 while challenges to the manner of execution of the sentence

6    must be brought pursuant to 28 U.S.C. § 2241.         United States v.

7    Giddings, 740 F.2d 770, 772 (9th Cir. 1984).2        Here, petitioner

8    challenges the legality of his conviction and sentence.

9         In United States v. Seesing, 234 F.3d 456, 464 (9th Cir.

10   2000), the Ninth Circuit holds:

11             When presented with a pro se motion that
               could be recharacterized as a 28 U.S.C. §
12             2255 motion, a district court should not so
               recharacterize the motion unless: (a) the pro
13             se prisoner, with knowledge of the potential
               adverse consequences of such a
14             recharacterization, consents, or (b) the
               district court finds that because of the
15             relief sought that the motion should be
               recharacterized as a 28 U.S.C. § 2255 motion
16             and offers the pro se prisoner the
               opportunity, after informing the prisoner of
17             the consequences of recharacterization, to
               withdraw the motion. Under either scenario,
18             the pro se prisoner has the option to
               withdraw the motion and file one all-
19             inclusive 28 U.S.C. § 2255 motion within the
               one-year statutory period.
20
          Therefore, before recharacterizing the instant motion as a
21
     motion for relief pursuant to Section 2255, the court advises
22
     petitioner that such a motion Section 2255 has a one-year
23

24        2
           Petitioner cannot obtain the relief sought by this motion
     pursuant to Rule 35, Federal Rules of Criminal Procedure, or
25   pursuant to 18 U.S.C. § 3582(c) because he does not meet the
     criteria for reconsideration of an imposed sentence set forth
26   therein.

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1    limitation period.      This limitation period runs from the latest

2    of:

3                (1) the date on which the judgment of
                 conviction becomes final;
4
                 (2) the date on which the impediment to
5                making a motion created by governmental
                 action in violation of the Constitution or
6                laws of the United States is removed, if the
                 movant was prevented from making a motion by
7                such governmental action;

8                (3) the date on which the right asserted was
                 initially recognized by the Supreme Court, if
9                that right has been newly recognized by the
                 Supreme Court and made retroactively
10               applicable to cases on collateral review; or

11               (4) the date on which the facts supporting
                 the claim or claims presented could have been
12               discovered through the exercise of due
                 diligence.
13
     Because petitioner’s conviction and sentence became final on May
14
     27, 2004, petitioner must demonstrate that the one-year
15
     limitation period on the claims for relief asserted in the
16
     instant motion commenced to run after May 27, 2004 and within the
17
     meaning of the accrual dates set forth above.           Alternatively,
18
     petitioner must demonstrate by specific facts that he is entitled
19
     to equitable tolling of the one-year limitation period.               In
20
     Calderon v. U.S. Dist. Court for Central Dist. of Cal., 128 F.3d
21
     1283 (9th Cir. 1997), cert. denied, 522 U.S. 1099 and 523 U.S.
22
     1061 (1998), overruled on other grounds, 163 F.3d 503 (9th Cir.
23
     1998), the Ninth Circuit held that the one-year limitations
24
     period applicable to Section 2255 motions is subject to equitable
25
     tolling.    However, the Ninth Circuit further held:
26

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1               Equitable tolling will not be available in
                most cases, as extensions of time will only
2               be granted if ‘extraordinary circumstances’
                beyond a petitioner’s control make it
3               impossible to file a petition on time ... We
                have no doubt that district judges will take
4               seriously Congress’s desire to accelerate the
                federal habeas process, and will only
5               authorize extensions when this high hurdle is
                surmounted.
6
     Id. at 1288-1289.    In addition, petitioner is advised that the
7
     failure to assert all claims for relief in a recharacterized
8
     Section 2255 motion can result in the later preclusion such
9
     claims in a “second or successive” Section 2255 motion.
10
          ACCORDINGLY:
11
          1.   Petitioner is hereby notified that the court finds that
12
     the instant motion should be recharacterized as a motion for
13
     relief pursuant to 28 U.S.C. § 2255.       Petitioner may withdraw the
14
     motion if he does not wish to pursue relief under Section 2255.
15
     Should petitioner choose to withdraw the motion, he must file a
16
     notice of withdrawal of the motion within 30 days of the filing
17
     date of this order.    If petitioner fails to file the notice of
18
     withdrawal within 30 days, the motion shall be adjudicated as a
19
     motion for relief under Section 2255.
20
          2.   If petitioner decides to proceed pursuant to Section
21
     2255, he must file an amended Section 2255 motion within 30 days
22
     of the filing date of this order setting forth all claims upon
23
     which he bases relief, the facts upon which he relies in
24
     contending that the claims in the Section 2255 motion are not
25
     time-barred and/or that petitioner is entitled to equitable
26

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1    tolling.   Failure to timely comply will result in the dismissal

2    of the Section 2255 motion as time-barred.

3         IT IS SO ORDERED.

4    Dated:   August 15, 2005                      /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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